
128 B.R. 632 (1990)
In re Richard A. PIERCE, Debtor.
The STATE OF TEXAS and The Texas State Employment Commission, Appellants,
v.
Richard A. PIERCE, Appellee.
No. 588-50514-7, Adv. No. 590-5010, Civ. A. No. CA-5-90-150-C.
United States District Court, N.D. Texas, Lubbock Division.
October 9, 1990.

ORDER
CUMMINGS, District Judge.
This case is before the court for consideration of the appeal of The State of Texas and The Texas State Employment Commission from a decision of the bankruptcy court. The bankruptcy court held that certain debts to appellants were dischargeable. 115 B.R. 523.
Appellants contend that the conclusions of law by that court should be reversed. This court must review the bankruptcy court's conclusions of law de novo. Sutton v. Bank One, Texas, N.A., 904 F.2d 327, 329 (5th Cir.1990). The court has considered the written arguments of counsel and the record in this case and is of the opinion that the decision of the bankruptcy court should be affirmed. There is no reversible error in the conclusions of law.
It is, accordingly, ordered that the decision of the bankruptcy court is AFFIRMED.
